Case 0:17-cv-60426-UU Document 310-2 Entered on FLSD Docket 11/13/2018 Page 1 of 5




                               EXHIBIT 1
Case 0:17-cv-60426-UU Document 310-2 Entered on FLSD Docket 11/13/2018 Page 2 of 5




                                 In The Matter Of:
          ALEKSEJ GUBAREV, XBT HOLDING SA and WEBZILLA, INC v.
                        BUZZFEED, INC and BEN SMITH




                               Mr Christopher Steele
                                  June 18, 2018




                                Original File C Steele Deposition.txt
                             Min-U-Script® with Word Index
Case 0:17-cv-60426-UU Document 310-2 Entered on FLSD Docket 11/13/2018 Page 3 of 5



                                                                            1

   1                       Mr Christopher Steele

   2            CONFIDENTIAL - ATTORNEYS' EYES ONLY
               IN THE UNITED STATES DISTRICT COURT
   3               SOUTHERN DISTRICT OF FLORIDA
        ______________________________
   4                                   :
        ALEKSEJ GUBAREV, XBT HOLDING : Case No:
   5    SA and WEBZILLA, INC           : 17-cv-60426-UU
                                       :
   6                   Plaintiffs      :
                                       :
   7                   -v-             :
                                       :
   8    BUZZFEED, INC and BEN SMITH    :
                                       :
   9                   Defendants      :
        ______________________________:
  10
  11                       Videotaped deposition

  12                                    of

  13                       Mr Christopher Steele
  14

  15                     On Monday, June 18th 2018

  16
  17                       Commencing at 9.35 am

  18

  19                               Taken at:

  20                            15 Old Bailey

  21                                London

  22                               EC4M 7EF

  23                           United Kingdom

  24

  25    Reported by: Miss Pamela Henley

                          www.european-depositions.com
                                 +442073850077
Case 0:17-cv-60426-UU Document 310-2 Entered on FLSD Docket 11/13/2018 Page 4 of 5



                                                                           47

   1                       Mr Christopher Steele

   2              Q.       And what efforts did you make to

   3    verify the allegations concerning Mr Gubarev?

   4              A.       The same.

   5              Q.       What did you learn about XBT?

   6              A.       From the open source search?

   7              Q.       If that is what you are willing to
   8    tell us about.

   9              A.       We did not find anything of

  10    relevance on XBT from the open source search.
  11              Q.       Did you find anything of relevance

  12    concerning Webzilla?

  13              A.       We did.
  14              Q.       And what was that?

  15              A.       It is an article I have got here,

  16    which is -- was posted on 28 July 2009, on
  17    something called CNN iReport, which is -- I can

  18    circulate it if you like.

  19              Q.       What do you understand iReports to

  20    be on CNN?

  21              A.       I do not have any particular

  22    knowledge of that.

  23              Q.       Do you understand that they have no

  24    connection to any CNN reporters?

  25              A.       I do not.

                          www.european-depositions.com
                                 +442073850077
Case 0:17-cv-60426-UU Document 310-2 Entered on FLSD Docket 11/13/2018 Page 5 of 5



                                                                         144

   1

   2                       CERTIFICATE OF COURT REPORTER

   3

   4                       I, Pamela E Henley, Court Reporter,

   5    do hereby certify that I took the stenotype notes

   6    of the foregoing deposition and that the

   7    transcript thereof is a true and accurate record
   8    transcribed to the best of my skill and ability

   9                       I further certify that I am neither

  10    counsel for, related to, nor employed by any of
  11    the parties to the action in which this deposition

  12    was taken, and that I am not a relative or

  13    employee of any attorney or counsel employed by
  14    the parties hereto, nor financially or otherwise

  15    interested in the outcome of the action.

  16
  17

  18

  19

  20

  21

  22                      _______________________

  23                           Pamela E Henley

  24

  25

                          www.european-depositions.com
                                 +442073850077
